Case 4:07-cv-05944-JST Document 5719-6 Filed 05/07/20 Page 1 of 7

Exhibit F

Mandate
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UNITED STATES COURT OF APPEALS FILED

FOR THE NINTH CIRCUIT

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,
Vv.

JOHN FINN; LAURA TOWNSEND
FORTMAN,

Objectors - Appellants,
v.

TOSHIBA CORPORATION; et al.,

Defendants - Appellees.

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,

MAR 07 2019

MOLLY C. DWYER, CLERK
US. COURT OF APPEALS

No. 16-16368

D.C. No. 3:07-cv-05944-JST

USS. District Court for Northern
California, San Francisco

MANDATE

No. 16-1637]

D.C. No. 3:07-cv-05944-JST

U.S. District Court for Northern
California, San Francisco
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Vv.

SEAN HULL; GORDON B.
MORGAN,

Objectors - Appellants,
v.
TOSHIBA CORPORATION; et al.,

Defendants - Appellees,

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,

ANTHONY GIANASCA,; et al.,
Objectors - Appellants,
V.

TOSHIBA CORPORATION; et al.,

Defendants - Appellees.

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

No. 16-16373

D.C. No. 3:07-cv-05944-JST

U.S. District Court for Northern
California, San Francisco

No. 16-16374
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INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,
v.
DONNIE CLIFTON,
Objector - Appellant,
v.
TOSHIBA CORPORATION; et al.,

Defendants - Appellees.

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,
v.
DAN L. WILLIAMS & CO.,
Objector - Appellant,
V.
TOSHIBA CORPORATION; et al.,

Defendants - Appellees.

D.C. No. 3:07-cv-05944-JST

U.S. District Court for Northern
California, San Francisco

No. 16-16378

D.C. No. 3:07-cv-05944-JST

U.S. District Court for Northern
California, San Francisco
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In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,
v.
ROCKHURST UNIVERSITY; et al.,
Objectors - Appellants,

V.
TOSHIBA CORPORATION; et al.,

Defendants - Appellees.

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

INDIRECT PURCHASER
PLAINTIFFS,

Plaintiff - Appellee,
v.
ANTHONY GIANASCA,; et al.,

Movants - Appellants,

No. 16-16379

D.C. No. 3:07-cv-05944-JST

U.S. District Court for Northern
California, San Francisco

No. 16-16399

D.C. No. 3:07-cv-05944-JST

U.S. District Court for Northern
California, San Francisco
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TOSHIBA CORPORATION; et al.,

Defendants ~ Appellees.

In re: CATHODE RAY TUBE (CRT) No. 16-16400
ANTITRUST LITIGATION,

D.C. No. 3:07-cv-05944-JST
INDIRECT PURCHASER US. District Court for Northern
PLAINTIFFS, California, San Francisco

Plaintiff - Appellee,

Vv.
ANTHONY GIANASCA,; et al.,

Movants - Appellants,

Vv.
TOSHIBA CORPORATION; et al.,

Defendants - Appellees.

The judgment of this Court, entered February 13, 2019, takes effect this

date.

This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.
CRBS IE NSE Mae 2A CISTI, GUE G/ S83 Papo de
FOR THE COURT:

MOLLY C. DWYER
CLERK OF COURT

By: Quy Le
Deputy Clerk
Ninth Circuit Rule 27-7
